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Charles Peterson
FEDERAL PUBLIC DEFENDER
Miles Pope
Assistant Federal Defender
FEDERAL DEFENDER SERVICES OF IDAHO
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Attorneys for Defendant
ERIK KONRAD EHRLIN


                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO
                        (HONORABLE B. LYNN WINMILL)


UNITED STATES OF AMERICA, )                     CR21-145-BLW
                          )
         Plaintiff,       )                     NOTICE OF APPEARANCE AND
                          )                     ASSIGNMENT OF COUNSEL
     vs.                  )
                          )
ERIK KONRAD EHRLIN,       )
                          )
         Defendant.       )
                          )


TO:    CLERK OF THE COURT, UNITED STATES DISTRICT COURT
       RAFAEL M. GONZALEZ, JR, ACTING UNITED STATES ATTORNEY
       FRANCIS ZEBARI, ASSISTANT UNITED STATES ATTORNEY


       PLEASE TAKE NOTICE that Miles Pope of the Federal Defender

Services of Idaho, is hereby assigned this matter and therefore makes an

appearance in the above action on behalf of the defendant, ERIK KONRAD


 Notice of Appearance and Assignment of   -1-
 Counsel
          Case 1:21-cr-00145-BLW Document 16 Filed 05/26/21 Page 2 of 3




EHRLIN, and requests that all further papers and pleadings herein except

original process be served upon said undersigned attorney.

Dated: May 26, 2021                       CHARLES PETERSON
                                          FEDERAL PUBLIC DEFENDER
                                          By:



                                          /s/ Miles Pope
                                          Miles Pope
                                          Federal Defender Services of Idaho
                                          Attorneys for Defendant
                                          ERIK KONRAD EHRLIN




 Notice of Appearance and Assignment of    -2-
 Counsel
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                               CERTIFICATE OF SERVICE

       I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document was served on all parties

named below on this 26th day of May, 2021.


Francis Zebari, Assistant United States Attorney
Office of the United States Attorney           ____United States Mail
1290 West Myrtle Street, Suite 500             ____Hand Delivery
Boise, ID 83702                                ____Facsimile Transmission
(208) 334-1211                                 _X_ CM/ECF Filing
(208) 334-1413 – Facsimile                     ____Email Transmission
Frank.Zebari@usdoj.gov


Dated: May 26, 2021                       /s/ Joy Fish
                                          Joy Fish




 Notice of Appearance and Assignment of    -3-
 Counsel
